     Case 2:24-cv-02467-NJK          Document 13     Filed 10/17/24     Page 1 of 2



 1
 2
 3
 4
 5
 6                         IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Camdyn Chavez, et al.,                              No. CV-24-02467-PHX-ASB
10                  Plaintiffs,                          ORDER
11   v.
12   Kyrene School District No. 28, et al.,
13                  Defendants.
14
15          Pursuant to 28 U.S.C. § 636(f), in an emergency and upon the concurrence of the
16   chief judges of the districts involved, a United States magistrate judge may be temporarily
17   assigned to perform any of the duties specified in subsections (a), (b), or (c) of this section
18   in a judicial district other than the judicial district for which he or she has been appointed.
19   No magistrate judge shall perform any of such duties in a district to which he or she has
20   been temporarily assigned until an order has been issued by the chief judge of such district
21   specifying the emergency by reason of which the magistrate judge is being transferred, the
22   duration of his or her assignment, and the duties he or she is authorized to perform.
23          Due to the emergency resulting from the recusal of all the District of Arizona’s
24   magistrate judges, the district certifies the need for magistrate judge assistance from the
25   District of Nevada.
26          Therefore,
27          IT IS ORDERED, with the concurrence of the Honorable Andrew P. Gordon, Chief
28   Judge, District of Nevada, that Magistrate Judge Nancy J. Koppe, District of Nevada, is
     Case 2:24-cv-02467-NJK        Document 13       Filed 10/17/24     Page 2 of 2



 1   hereby designated to hold court and perform other judicial duties under 28 U.S.C. § 636,
 2   subsections (a), (b), and (c), in the District of Arizona, related to the specific case: Chavez
 3   et al v. Kyrene School District No. 28 et al, CV-24-2467-PHX.
 4          Dated this 17th day of October, 2024.
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  -2-
